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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


CAROL WAYNE KRANTZ,                            )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )       Civil Action No. 3:11 cv 01234-P
                                               )
AT&T, INC., CB RICHARD ELLIS                   )
GROUP, INC., CB RICHARD ELLIS,                 )
INC., and CBRE TECHNICAL                       )
SERVICES, LLC,                                 )
                                               )
       Defendants.                             )



             DEFENDANTS’ MOTION TO DISMISS WITHOUT PREJUDICE
                      AND TO COMPEL ARBITRATION

       Defendant AT&T, Inc. (“AT&T”), CB Richard Ellis Group, Inc., CB Richard Ellis, Inc.

and CBRE Technical Services, LLC (the CB Richard Ellis entities collectively shall be referred

to as “CBRE”) (CBRE and AT&T collectively shall be referred to as “Defendants”) hereby

move this Court to dismiss Plaintiff Carol Wayne Krantz’s (“Krantz”) Original Complaint

(“Complaint”) without prejudice for improper venue pursuant to Federal Rule of Civil Procedure

12(b)(3).

       In July 2009, CBRE extended an offer of employment to Krantz by way of a letter

agreement (the “Agreement”). The Agreement contained an arbitration clause requiring the

parties to arbitrate all disputes, including “all claims arising from or related to [Krantz’s]

employment…including, but not limited to, claims for wages or other compensation due; and

claims for violation of any federal, state or governmental law, statute, regulation or ordinance.”




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(Appx., pp. 6-7.) Krantz executed the Agreement on July 11, 2009. (Id.) The Agreement is

valid and enforceable, and Krantz should be compelled to arbitrate his dispute with CBRE.

       Similarly, AT&T can compel Krantz to arbitrate notwithstanding that it was not a

signatory to the Agreement. Under the doctrine of equitable estoppel, Krantz is obligated to

arbitrate with AT&T under the direct benefits test, as well as the intertwined-claims test.

Because Krantz directly received substantial benefits pursuant to the Agreement, he is estopped

from claiming that a non-signatory to the Agreement may not enforce the arbitration clause. In

re Polymerica, LLC, 271 S.W.3d 442, 449 (Tex. App. 2008). Similarly, under the intertwined-

claims test Krantz is estopped from repudiating the Agreement because his claims for alleged

failure to pay overtime are intertwined with and dependent upon the contract containing the

arbitration provision. Grigson v. Creative Artists Agency, L.L..C., 210 F.3d 524, 525 (5th Cir.

2000). The intertwined-claims test is especially applicable in situations such as this one where

the plaintiff has charged that the Defendants engaged in interdependent and concerted conduct.

Id. at 528. Under either theory of estoppel, AT&T should be permitted to compel Krantz to

arbitrate his wage claims.

       For these reasons, and as detailed more fully in Defendant’s Brief in Support of Motion

to Dismiss Without Prejudice and To Compel Arbitration filed concurrently herewith, the

Complaint should be dismissed without prejudice, and Krantz should be ordered to arbitrate his

claims against all Defendants. Alternatively, Defendants respectfully request that the Court stay

proceedings and order all parties to proceed in arbitration.



                                              GREENBERG TRAURIG, LLC

                                              By:     s/ Hugh Hackney




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                                     Hugh Hackney
                                     State Bar No. 08760000
                                     Katherine L. Elsbernd
                                     State Bar No. 24062712
                                     2200 Ross Avenue, Suite 5200
                                     Dallas, Texas 75201
                                     Telephone: (214) 665-3600
                                     Facsimile: (214) 665-3601
                                     hackneyh@gtlaw.com

                                     Michael D. Karpeles
                                     Pro Hac Vice Application Pending
                                     karpelesm@gtlaw.com
                                     Ruth A. Bahe-Jachna
                                     Pro Hac Vice Application Pending
                                     baher@gtlaw.com
                                     77 West Wacker Drive, Suite 3100
                                     Chicago, Illinois 60601
                                     Telephone: (312) 456-8400
                                     Facsimile: (312) 456-8435

                               ATTORNEYS FOR DEFENDANTS AT&T,
                               INC., CB RICHARD ELLIS GROUP, INC., CB
                               RICHARD ELLIS, INC., AND CBRE
                               TECHNICAL SERVICES, LLC




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of these documents via the Court’s

CM/ECF system per Local Rule CV-5.1(d). Any other counsel of record will be served by

facsimile transmission and/or first class mail this 15th day of July, 2011.




                                                             s/ Hugh Hackney
                                                             Hugh Hackney




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